                                                         EXHIBIT
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                                                                 1 of 3




                       IN THE U ITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

  STATE OF KANSAS, §
  ETAL.                                   §
                                                 §
          Plaintiffs, §
                                                 §
  v-                               §
                                                 §                        2:24-cv-88-JM
  MERRICK GARLAND, § Clvl1 Acl,on Na
  ET.                  AL.                    §
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          Defe da ts. §
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                             DECLARATION OF ALLEN S. BLACK

I, Allen S. Black, declare as follows:

    1. lam Allen S. Black. I am over the age of 18, and I have personal knowledge of the facts

       contained in this Declaration. I could competently testify as to the contents of this

       Declaration if called upon to do so.

   2. I am a law-abiding person, eligible to possess firearms under state and federal law.

   3. I am a firearms hobbyist and enthusiast who maintains a personal collection of firearms

       that includes handguns. I have also volunteered my time as a shooting instructor on at

       least 10 occasions.
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4. I attend approximately 4-5 gun shows every year. At those gun shows I buy firearms and

   I sell from my personal collection. I am not a federal firearms licensee.

5. I presently have a large personal collection of firearms, including self-defense weapons,

   which I have accumulated over many years and which I actively seek to expand by

   attending gun shows in the future.

6. I am aware of and have reviewed the Final Rule which redefines what qualifies as

    Engaged in the Business as a Dealer in Firearms (“Final Rule”) that is at issue in this

   case.


7. lam aware of the requirements of a federal firearms licensee, and they are burdensome

   for someone who sells firearms as a hobby.

8. If the Final Rule goes into effect, I will have to either give up selling firearms or register

   as a federal firearms licensee.


9. In my experience of attending approximately 4-5 gun shows each year, I am aware of the

   impact the Final Rule will have on gun shows overall.

10. Based on the information available, it is my understanding that the Final Rule is expected

   to decrease the sale of unlicensed firearms dealers by 10%. 89 Fed. Reg. 29054. My

   experience leads me to believe that this 10% estimate is conservative, and sales could

   decrease by an even greater percentage.


11. The Final Rule will likely decrease the number of vendors that sell firearms at gun shows

    as those who are not federal firearms licensees (like myself) will be less likely to sell

   firearms.


12. The Final Rule will also likely lead to a decrease in attendance at gun shows as fewer

    vendors will decrease the options available and reduce public interest in gun shows.




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    13.1 do not want to give up selling firearms at gun shows from my personal collection but

       this Final Rule akes me concerned that I will be subject to civil, administrative, and

          ssibly criminal penalties if I do.

    14. Further the declarant sayeth naught,

I declare under penalty of perjury under the laws of the United States of America and the State of

Kansas that the foregoing is true and correct.




Execute in {/(/1 <ii \ H , this                        day of May 2024,



                                                 BY:




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